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                         EXHIBIT 8




                                                                         UBSPO032
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-----Original Message-----
From: Christopher Weldon <cweldon@kwcllp.com>
Sent: Tuesday, August 24, 2021 8:57 PM
To: Burt, Jason (DC) <Jason.Burt@lw.com>
Cc: Clubok, Andrew (DC) <Andrew.Clubok@lw.com>; McMahon, Sean (NY) <Sean.McMahon@lw.com>; Justin R
Waytowich <JWaytowich@kwcllp.com>
Subject: RE: Beecher Carlson Document Subpoena

The only caveat to your summary below is that we will discuss how rolling production will proceed on September 3, 2021
to begin the following week. As to the rest, we will proceed as discussed.

Thanks,


Christopher B. Weldon, Esq.
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than to the individual or entity named above is strictly prohibited. If you have received this communication in error,
please notify us immediately by telephone.


-----Original Message-----
From: Jason.Burt@lw.com <Jason.Burt@lw.com>
Sent: Tuesday, August 24, 2021 8:08 PM
To: Justin R Waytowich <JWaytowich@kwcllp.com>
Cc: Christopher Weldon <cweldon@kwcllp.com>; Andrew.Clubok@lw.com; Sean.McMahon@lw.com
Subject: RE: Beecher Carlson Document Subpoena

Chris and Justin:

Thank you for speaking with us earlier this evening. We appreciate your quick response to our inquiry regarding the
Beecher Carlson information and document subpoenas and your willingness to work with us.

To memorialize our discussion, we understand that Beecher will produce responses to the New York information
subpoena by Friday, August 27. With respect to the Texas document subpoena, you stated that Beecher would begin a
rolling production starting on Friday, September 3, unless Sentinel has filed a motion for protective order in the Texas
bankruptcy court before that date. As discussed, we agree to that in principle, but ask that Beecher inform Sentinel that if
it intends to intervene to prevent Beecher's production, it must do so no later than Thursday, September 2, otherwise
Beecher will being production on September 3. We also ask that you let us know earlier if possible whether Sentinel will
intervene or not. Finally, you agreed that absent a court order Beecher would not take instruction from Sentinel one way
or another on what Beecher will produce in response to the subpoena. This is critical since Sentinel's last communication
to us was that they would be dictating what Beecher Carlson may produce, which is unacceptable to UBS and contrary to
the confidentiality provision of the Management Agreement.

Please let us know if your understanding of what we discussed differs in any respect from the above. Thank you.

Jason




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